        Case 1:25-cv-00401-RCL           Document 65         Filed 04/30/25      Page 1 of 5




 JANE JONES, et al.,


                     Plaintiffs,

         v.                                          Civil Docket No. 1:25-cv-401

 PAMELA BONDI, in her official capacity as
 Attorney General of the United States, et al.,


                     Defendants.


                    DEFENDANTS’ MOTION TO STAY PROCEEDINGS
       Defendants respectfully request that the Court stay further proceedings (except as noted

below) until August 30, 2025. Defendants have appealed the preliminary injunctions issued in this

case, and the D.C. Circuit has granted Defendant’ Motion to Expedite Briefing and Argument.

The D.C. Circuit’s ruling on the appeal could inform further proceedings in this case, including

narrowing the issues. A temporary stay of proceedings to await the D.C. Circuit’s guidance would

thus promote efficiency and conserve judicial and party resources. This Court recently granted a

similar stay in the related case of Doe v. McHenry, 1 :25-cv-286, ECF No. 77. Defendants have

conferred with Plaintiffs about this motion, and Plaintiffs indicate that they consent to the

requested stay. Accordingly, this Court should exercise its discretion to temporarily stay further

proceedings in this case.

                                         BACKGROUND

       Plaintiffs are males diagnosed with gender dysphoria who are housed by the Federal

Bureau of Prisons (“BOP”) in women’s facilities. Am. Compl. ¶¶ 25-29. Plaintiffs brought this

suit on February 10, 2025, to challenge, among other things, BOP’s decision to transfer them to

men’s facilities. Id. at ¶¶ 32-42. On February 24, 2025, this Court issued a temporary restraining

order and preliminary injunction enjoining the enforcement of relevant provisions of Executive

Order 14168, including Section 4(a), against Plaintiff Jane Jones, then the only plaintiff in the case.
         Case 1:25-cv-00401-RCL           Document 65     Filed 04/30/25      Page 2 of 5




ECF No. 28. Section 4(a) directs the Attorney General to ensure that males are not detained in

women’s prisons.

         On February 28, 2025, Plaintiffs amended the complaint to add four more plaintiffs. ECF

No. 35. After further briefing, the Court issued a new preliminary injunction on March 3, 2025,

which covered those new plaintiffs. ECF No. 46. On April 2, 2025, Defendants appealed the

preliminary injunctions. ECF No. 62. Defendants’ appeal will focus only on whether transferring

these inmates to men’s facilities is illegal.

         Defendants’ answer to Plaintiffs’ amended complaint is currently due on May 12, 2025.

Pursuant to the Prison Litigation Reform Act, the preliminary injunctions will expire on May 25

and June 1, respectively, unless renewed. 1 See 18 U.S.C. § 3626(a)(2).
                                            ARGUMENT

         “[T]he power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936); see also Belize Soc.

Dev. Ltd. v. Gov’t of Belize, 668 F.3d 724, 731 (D.C. Cir. 2012) (when a stay is issued “pursuant

to the district court’s inherent authority in the interest of judicial economy, ‘the applicable

jurisprudence appears in [Landis]’” (citations omitted)). “Before exercising this power, a court

must ‘weigh competing interests and maintain an even balance’ between them, taking into

consideration the benefits of a stay, the hardship to the movant of denying a stay, and any injury

to the nonmovant from issuing a stay.” Hulley Enterprises Ltd. v. Russian Fed’n, 211 F. Supp. 3d

269, 280 (D.D.C. 2016) (quoting Landis, 299 U.S. at 255).

    I.      Courts Routinely Stay Proceedings to Await Appellate Guidance.

         Consistent with their discretionary power, judges in this District have routinely stayed

proceedings to promote judicial economy and efficiency where the D.C. Circuit’s ruling in the

same or a related matter will bear on further proceedings before the district court. See, e.g.,

1
 If Plaintiffs move to renew these two preliminary injunctions for 90 days, Defendants would
not oppose it.
          Case 1:25-cv-00401-RCL          Document 65        Filed 04/30/25       Page 3 of 5




Blumenthal v. Trump, No. CV 17-1154 (EGS), 2019 WL 3948478 at *3 (D.D.C. Aug. 21, 2019)

(“The Court will also stay proceedings in this case pending the interlocutory appeal.”); Philipp v.

Fed. Republic of Germany, 253 F. Supp. 3d 84, 89 (D.D.C. 2017) (“[T]he Court concludes that it

is appropriate to stay the proceedings while Defendants’ interlocutory appeal is pending” and

“shall not require Defendants to respond to the complaint and the parties to proceed with discovery

at this time.”); Ready to Win v. Fed. Election Comm’n, No. 22-cv-3282 (RDM), 2023 WL

10512144, at *2 (D.D.C. July 28, 2023) (staying proceedings pending appeal of a related case,

reasoning that discovery “may prove unnecessary or may be narrowed in light of the D.C. Circuit’s

decision”); Univ. of Colo. Health Mem’l Hosp. v. Burwell, No. 14-cv-1220, 2017 WL 535246, at

*12 (D.D.C. Feb. 9, 2017) (“Because many of the applicable issues may be resolved by the D.C.

Circuit, and because the D.C. Circuit may otherwise provide instruction on the issues here, the

Court finds a stay would serve the interests of judicial efficiency.”).

          Courts in other jurisdictions have stayed proceedings in similar circumstances. See, e.g.,

Minn. Voters Alliance v. Walz, 494 F. Supp. 3d 610, 611–12 (D. Minn. 2020) (staying proceedings

pending appeal of preliminary injunction because, among other things, the appeal was “likely to

resolve some of the legal issues in dispute”); Beltronics USA, Inc. v. Midwest Inventory Distrib.,

LLC, 545 F. Supp. 2d 1188, 1190 (D. Kan. 2008) (staying proceedings pending appeal of

preliminary injunction to await appellate court’s resolution of a legal issue that “would

significantly advance the course of th[e] litigation” and best serve “the time and effort of the parties

and the court”); Bray v. QFA Royalties, LLC, No. 06-cv-02528, 2007 WL 2688858, at *1 (D. Colo.

Sept. 12, 2007) (staying proceedings pending appeal of preliminary injunction because appellate

court’s “determination of the legal issues inherent in [the] preliminary injunction decision will

edify further proceedings on those same . . . claims for permanent injunctive relief”).

    II.      A Stay of Proceedings Will Promote Judicial Economy and Conserve the
             Parties’ Resources.
          In the instant case, a temporary stay of district court proceedings until August 30, 2025,

would serve the interests of judicial economy and efficiency and conserve the parties’ resources.
         Case 1:25-cv-00401-RCL           Document 65        Filed 04/30/25       Page 4 of 5




The D.C. Circuit has granted Defendants’ Motion to Expedite Briefing and Argument, and if the

D.C. Circuit rules on the appeal before the expiration of the preliminary injunctions or any renewal

thereof, such a ruling likely will bear on further proceedings in this case, including potentially

narrowing the issues in this case and the scope of any discovery. In particular, the D.C. Circuit’s

decision will likely shed light on the applicable Eighth Amendment standards, their applications

to the unique context of transferring trans-identifying inmates like Plaintiffs to facilities consistent

with their biological sex, and BOP’s authority to make such placement decisions. Appellate

guidance on these issues may affect further proceedings in this case, and thus a temporary stay to

await such guidance is warranted.

         As noted above, Plaintiffs consent to the requested stay. Further, as reflected in the

attached Proposed Order, Defendants’ request for a stay of proceedings does not extend to any

motions to extend or renew the preliminary injunctions, any issue that may arise from compliance

with those preliminary injunctions, the entry of any protective order, any motions to amend the

complaint to add new plaintiffs and for preliminary injunctive relief regarding those plaintiffs, and

other case management issues. Moreover, either side may move to lift the stay at any time.

                                          CONCLUSION

         For the foregoing reasons, Defendants respectfully request that the Court stay further

proceedings until August 30, 2025.



Dated:                                          Respectfully submitted,

                                                YAAKOV M. ROTH
                                                Acting Assistant Attorney General

                                                JEAN LIN
                                                Special Litigation Counsel

                                                /s/ Alexander J. Yun
                                                ALEXANDER J. YUN
                                                ELIZABETH B. LAYENDECKER
                                                Trial Attorneys
                                                U.S. Department of Justice
Case 1:25-cv-00401-RCL   Document 65     Filed 04/30/25    Page 5 of 5




                             Civil Division, Federal Programs Branch
                             1100 L. Street, NW
                             Washington D.C. 20005
                             (202) 674-0255
                             Alex.Yun@usdoj.gov

                             Counsel for Defendants
